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         IN THE UNITED STATES COURT OF APPEALS
          FOR THE DISTRICT OF COLUMBIA CIRCUIT
_________________________________________
                                          )
TIKTOK INC.,                              )
                                          )
and                                       )
                                          )
BYTEDANCE LTD.,                           )
                                          )
                           Petitioners,   )
                                          )
     v.                                   ) No. 24-1113
                                          ) (consolidated with
                                          ) Nos. 24-1130,
MERRICK B. GARLAND, in his official       ) 24-1183)
Capacity as United States Attorney        )
General,                                  )
                                          )
                           Respondent.    )
                                          )
_________________________________________)

   DECLARATION OF BLAKE CHANDLEE IN SUPPORT OF
   PETITIONERS’ EMERGENCY MOTION FOR INJUNCTION

     1.    I am the President of Global Business Solutions for TikTok,

a role I have served in since April 2019. As the President of Global

Business Solutions, my responsibilities include overseeing the team

responsible for managing TikTok’s commercial partnerships, including

our relationships with advertisers, and related policy issues. In

addition, as a TikTok senior executive for over five years, I have become
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broadly familiar with our operations and policies across a range of other

areas, including our engineering and platform operations. For clarity,

references in this declaration to “TikTok Inc.” are to the specific U.S.

corporate entity that is a Petitioner in this lawsuit, and references to

“TikTok” are to the online platform.

     2.    The purpose of this declaration is to elaborate on the

irreparable harms to our business and brand from even a temporary

shutdown of TikTok in the United States as previously discussed in

paragraphs 50-52 of the Declaration of Adam Presser filed in this case

on June 20, 2024.

     3.    TikTok has more than 170 million monthly users in the

United States and more than a billion users worldwide. The foundation

of our business is to attract creators and users to our platform, which in

turn allows us to attract advertisers, talented employees, and continued

investment in our platform. Even a very short ban on the order of days

or weeks would irreversibly harm TikTok’s reputation and goodwill.

And a longer temporary ban on the order of several months would

irreversibly harm TikTok Inc.’s ability to maintain and grow the user




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base, develop content, earn advertising revenue that we can reinvest in

the platform, and attract and retain business partners and employees.

I.   Lost Revenue and Commercial Partnerships

     4.    Attracting advertising and commercial partnerships depends

on the presence of users on the platform. Since even a temporary

shutdown of the platform will, as discussed below, result in irreversibly

losing users and content creators, and harm our reputation and

goodwill, we will experience irreparable harm to our advertising and

commercial partnerships, as will the many thousands of businesses who

rely on TikTok to market their products.

     5.    We estimate that if the TikTok platform is shut down in the

United States on January 19, 2025, but the prohibitions are lifted after

a month, U.S. small businesses would lose more than $1 billion in

revenue, 1 almost two million creators in the United States would suffer

almost $300 million in lost earnings, and TikTok itself would lose 29%



1 See Oxford Economics, TikTok: Helping Grow Small- and Mid-Sized

Businesses and Delivering Value for Consumers Across the United
States, at 12 (2024), available at https://tiktokeconomicimpact.com/
(“Our modeling suggests that SMB investments in paid advertising and
marketing on TikTok drove $14.7 billion in revenue for SMBs in
selected sectors in the US in 2023.”).

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of our total targeted global advertising revenue for 2025. Those

numbers would only increase if the shutdown extends for more than a

month.

      6.      As of last month, there were over 7 million U.S. accounts

using TikTok to do business. According to an Economic Impact Report

prepared for us by Oxford Economics, small- and mid-sized businesses

see TikTok as integral to their expansion plans. 2 69% of these

businesses say that using TikTok has led to increased sales for their

business in the last year, and 39% say that access to TikTok is critical

to their business’s existence. 3 These businesses’ advertising,

marketing, and organic reach on TikTok contributed $24.2 billion, and

TikTok’s own operations contributed an additional $8.5 billion, to U.S.

GDP in 2023. 4

      7.      TikTok also provides an extraordinarily popular online

platform for e-commerce—selling physical goods online. On Black

Friday, November 29, 2024, TikTok Shop hit over $100 million in sales




2 Id. at 5.
3 Id. at 7.
4 Id. at 4.



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in the United States on a single day. 5 Top selling brands included

household names like Crocs and Estee Lauder, and the singer Nicki

Minaj had the highest-viewed TikTok Shop Live ever, with over 172

million viewers. 6 But many sales went to brands that first started on

TikTok Shop, and one-third of all the purchases were from small- and

medium-sized businesses. 7 A temporary loss of this platform for

commercial activity would irreparably harm sellers of products and the

creators in this country who market them for commissions—as well as

our business, which also earns revenue from those sales.

     8.    Apart from the lost revenue, even a temporary ban will

irreversibly weaken our competitive position because advertisers and

business partners who have developed relationships with other

platforms will not return. Large advertisers set budgets on an annual

basis and allocate that budget across the platforms on which they plan



5 Alexandra S. Levine, TikTok Shop Triples Black Friday Sales,

Topping $100 million, Bloomberg (Dec. 4, 2024),
https://www.bloomberg.com/news/articles/2024-12-04/tiktok-shop-
triples-black-friday-sales-topping-100-million.
6 TikTok Shop: A Home for Inspiration this Holiday Season, TikTok,

https://newsroom.tiktok.com/en-us/tiktok-shop-a-home-for-product-
inspiration-this-holiday-season.
7 Id.



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to advertise. If advertisers conclude that TikTok will be unavailable in

the United States, those advertisers will reallocate to other platforms

any budget they planned to allocate to TikTok. Even if the Act’s

prohibitions are later struck down, it will be impossible to entirely

recoup these lost opportunities.

      9.    A temporary shutdown of the platform will also undermine

our reputation and goodwill, including harming our relationships with

advertisers and business partners in the United States and around the

world. Advertisers and partners are already concerned about the

impact of the ban, and even a temporary shutdown will undermine our

credibility in being able to deliver an audience going forward.

II.   TikTok’s User Base and Content Development

      10.   If the ban is permitted to enter into force, it would instantly

deprive U.S. users and creators of access to the TikTok platform. Users

and content creators tend to develop lasting brand loyalty when it

comes to social media and online entertainment platforms, and if we

lose these users and content creators to our competitors, even on a

temporary basis, some will not return, even if the prohibitions are later

lifted.


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     11.     In addition to general brand loyalty, another reason content

creators are not likely to return to TikTok following a temporary ban is

the significant costs associated with changing platforms. Different

platforms provide creators with different tools and incentives to create

and promote videos, and use different content recommendation and

promotion technologies that result in those creators reaching different

audiences. If creators start creating on or move to another platform

because TikTok is not available, once they have established themselves

there, they will be less likely to switch, or switch back, to TikTok

because of the costs of doing so.

     12.     Users who view (rather than create) content similarly

experience costs associated with switching platforms. Once users have

established themselves on another platform, with a content feed

tailored to their tastes, including their favorite creators, and become

familiar with the tools that allow them to engage with content or with

others on the platform, they will be less likely to switch, or switch back,

to TikTok.

     13.     While the unprecedented nature of this shutdown makes it

difficult to predict how users would react, our modeling based on the


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return rate of users who have previously been absent for a 30-day

period indicates that a one-month shutdown would result in TikTok

losing approximately one third of its daily users in the United States. A

longer shutdown would result in an even greater loss of users.

     14.   If TikTok becomes unavailable in the United States, some

users and creators outside the United States will also depart for other

platforms. Creators abroad who want to reach U.S. audiences, and

users abroad who want to follow popular U.S. creators, will shift to

other platforms because U.S. users and creators will no longer be on

TikTok.

     15.   Accordingly, even if the Act’s prohibitions are later lifted, we

would not be able to recover all the creators and users lost while TikTok

was unavailable, because people who would have continued or started

to use TikTok will have already turned to other competing platforms,

such as Instagram, Facebook, or YouTube.

     16.   Even a short shutdown of the platform, on the order of days

or weeks, will also undermine our reputation and goodwill with creators

and users. Even if TikTok later becomes available, a temporary

shutdown will undermine our credibility in being able to deliver content


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to users and an audience to creators going forward. And the longer the

shutdown, the greater damage to our reputation and goodwill.

III. Hiring and Employee Retention

      17.   In addition to users and advertisers, a shutdown of the

platform will also irreversibly damage our ability to recruit and retain

employees. As a technology business, we compete for software

engineers and other talent in a highly competitive market. If TikTok is

even temporarily banned, the business our current or prospective

employees would support will be gone, and they are likely to accept

offers from competitors. Even if the prohibitions are later lifted, it will

be impossible to recruit most of them back.

IV.   Shutting Down the TikTok Platform

      18.   Many of our hundreds of service providers in the United

States help make the platform available to TikTok users around the

world—not just in the United States. If those providers were to stop

providing services to enable the distribution, maintenance, or updating

of TikTok for users in the United States, TikTok could also become

unavailable for users in many other countries.




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      19.   Accordingly, if the prohibitions in the Act come into effect on

January 19, 2025, to avoid interruption of services for tens of millions of

TikTok users outside the United States, where the Act’s prohibitions do

not apply, we would need a period of lead time to work closely with our

service providers. Conversely, if TikTok is allowed to remain available

to users in the United States, we would need to work with our service

providers in advance to ensure that TikTok will remain available to

users in the United States.




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      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury

that the foregoing is true and correct to the best of my knowledge.


      Executed this day, December 8, 2024.



                                             ________________________
                                                  Blake Chandlee




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